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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


BRENDA RICE-DAVIS                                     )
                                                      )
       Plaintiff,                                     )
       v.                                             )     No: 15-cv-06348
                                                      )
LAKISHA BANNISTER and                                 ) Judge Sharon Johnson Coleman
HOUSING AUTHORITY OF COOK COUNTY                      )
                                                      ) Magistrate Susan E. Cox
        Defendants.                                   )



MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR RECONSIDERATION OF
 MOTION TO REMAND AND FOR AWARD OF COSTS AND ATTRONEYS FEES


    Plaintiff, BRENDA RICE-DAVIS, by her attorney, Stephen Stern, submits the following in

support of her MOTION FOR RECONSIDERATION OF MOTION TO REMAND:



                                                FACTS

    On June 22, 2015 Plaintiff filed a Complaint against the Defendants LAKISHA

BANNISTER (hereinafter “Bannister”) and the HOUSING AUTHORITY OF COOK COUNTY

(hereinafter “HACC”) in the Circuit Court of Cook County Illinois, a copy of which is attached

to Plaintiff’s MOTION FOR RECONSIDERATION OF MOTION TO REMAND as Exhibit A.

The Complaint alleged in relevant part the following facts. On March 10, 2015 the Plaintiff was

attending a political event held by the Citizens to Elect Mayor Eric J Kellogg in the Social Room

of the Turlington West Apartments (hereinafter referred to as “TWA”) Id p 3 ¶ 15. TWA is

located in Harvey Illinois Id p 1 ¶ 3, was owned and operated by HAAC Id p 1 ¶ 4 which is a

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government agency Id p 5 ¶ 34 and Banister was the property manager employed by HAAC to

manage TWA from 2013 to 2015 Id p 2 ¶ 12. Prior to that event, specifically on October 2,

2014, Plaintiff had filed a lawsuit against Bannister, HAAC and another individual for “Breach

of Contract, Breach of Duty and other various torts” Id pp 2- 3 ¶ 13. Plaintiff was attending the

political event on March 10, 2015 with an intent to register to vote and enjoy the event related to

the upcoming mayoral election Id p 3 ¶ 17. Plaintiff also intended to work as a “poll-watcher”

for the candidate which she alleged required her to be a registered voter Id p 5 ¶ 31. While at the

political event Bannister “entered the social room while on duty, looked directly at the Plaintiff

and ordered her to exit the political activity, stating that ‘No guests were allowed’”, despite the

fact that that 25-35% of the attendees were guests Id p 3 ¶ 15. Plaintiff alleged that Banister’s

order for her to leave interfered with her political rights in violation of 50 ILCS 135/10(b) and

constituted “neg1glence per se” Id p 6 ¶ 37. Plaintiff also alleged that “Defendant Bannister was

acting out of spite to harm or embarrass the Plaintiff before the general public at large due to the

Plaintiff’s prior lawsuit filed October 2, 2014 against her for various tort actions” Id p 7 ¶ 46

(emphasis added).

       APPLICABLE STATUTORY LAW RELATED TO REMOVAL AND REMAND

    Title 28 U.S.C. § 1331 governs federal question jurisdiction and provides that “The district

courts shall have original jurisdiction of all civil actions arising under the Constitution, laws, or

treaties of the United States.” Requests for removal of cases from State Court are made

pursuant to 28 U.S.C. § 1441(b) which provides that “Any civil action of which the district

courts have original jurisdiction founded on a claim or right arising under the Constitution,

treaties, or laws of the United States shall be removable [from State court] without regard to the


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citizenship or residence of the parties”. Finally, the time requirements for and remedies related

to remanding a case to State court that has been removed improperly from State court is

provided for in 28 U.S.C. § 1447 (c) which states that “If at any time before final judgment it

appears that the district court lacks subject matter jurisdiction the case shall be remanded. An

order remanding the case may require just costs and payment of actual expenses, including

attorneys fees incurred as a result of the removal.” (emphasis added)



                                         ARGUMENTS

                              Applicable Case Law Governing Remands

       The party seeking removal bears the burden of establishing federal jurisdiction Boyd v.

Phoenix Funding Corp., 366 F.3d 524, 529 (7th Cir. 2004). The Court must interpret the removal

statute narrowly, and any doubts regarding Jurisdiction are resolved in favor of remand Doe v.

Allied-Signal, Inc., 985 F.2d 908, 911 (7th Cir. 1993). A court ascertains the presence or

absence of federal question jurisdiction by examining whether a federal question appears on the

face of the plaintiff’s well pleaded complaint Nelson v. Stewart, 422 F.3d 463, 466 (7th

Cir.2005) (citing Caterpillar Inc. v. Williams, 482 U.S. 386, 392, 107 S.Ct. 2425, 96 L.Ed.2d 318

(1987). ” The plaintiff, as master of his own complaint, may avoid federal jurisdiction by

pleading only state-law claims.” Id. Stated another way, the plaintiff may, by eschewing claims

based on federal law, choose to have the cause heard in state court.

       An exception to the well-pleaded complaint rule is the doctrine of preemption. Disher v.

Citigroup Global Mkts. Inc., 419 F.3d 649, 654 (7th Cir. 2005). Under this doctrine, a state law

claim can be removed to federal court if federal law either expressly or completely preempts


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state law. Id. Express preemption occurs when “a federal statute explicitly provides that it

overrides” state or local law. Boomer v. AT&T Corp., 309 F.3d 404, 417 (7th Cir. 2002).

Moreover except in rare occasion, when a Defendant raises preemption as a defense to the state

law complaint, this is not a basis for removal and “ This is a matter, however, for the defendants

to present to the state courts as a matter of defense.” Nelson, 422 F.3d at 475. Finaly, complete

preemption only occurs when “the preemptive force of a [federal] statute is so ‘extraordinary’

that it converts an ordinary state common-law complaint into one stating a federal claim. . . .”

Nelson, 422 F.3d at 466-67.



          The Voting Rights Act and the Senate Report Accompanying 1982 Amendments

       Section 2 of the VRA, as amended in 1982, provides in relevant part that:

        (a) No voting qualification or prerequisite to voting or standard, practice, or procedure
            shall be imposed or applied by any State or political subdivision in a manner which
            results in a denial or abridgement of the right of any citizen of the United States to
            vote on account of race or color, ….

        (b) A violation of subsection (a) is established if, based on the totality of circumstances,
            it is shown that the political processes leading to nomination or election in the S42
            U.S.C.A § 1973tate or political subdivision are not equally open to participation by
            members of a class of citizens protected by subsection (a) in that its members have
            less opportunity than other members of the electorate to participate in the political
            process and to elect representatives of their choice. The extent to which members of
            a protected class have been elected to office in the State or political subdivision is
            one circumstance which may be considered: Provided, That nothing in this section
            establishes a right to have members of a protected class elected in numbers equal to
            their proportion in the population. (emphasis added) 42 U.S.C.A § 1973


Several class based factors that are relevant in making the “totality of circumstances” assessment

required by the VRA are listed by the Senate Report accompanying the 1982 amendments to the

Section 2 of the VRA which among other changes added subparagraph (b) see S. Rep. No. 417,

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99th Cong. Sess. 28-29 (1982). Thus based upon the statutory language there is a violation of

the VRA only when a plaintiff can prove that : 1) a standard, practice, or procedure was imposed

by a State or political subdivision in a manner that resulted in denial or abridgement of citizens

right to vote based upon their race or color; and 2) the plaintiff must prove based upon the

totality of circumstances that members of a class of citizens protected by subsection (a) have

less opportunity than other members of the electorate to participate in the political process and to

elect representatives of their choice.



                    Plaintiff’s Complaint Cannot be Viewed as Supporting
              Defendants Claim That it Was Brought Under The Voting Rights Act


         In the case at bar, Defendants have not raised the issue of preemption as a basis for

removal and even if they could as noted above it would not, except on rare occasions, be a valid

basis for such removal. Defendants only basis claimed for removal in their NOTICE OF

REMOVAL is that “the subject Complaint is brought under the Voting Rights Act (“VRA”) of

1965 § 2 et. seq., 42 U.S.C.A § 1973” 1 NOTICE OF REMOVAL p. 2 ¶ 2. Moreover, the

Defendants admit in their NOTICE OF REMOVAL that “Plaintiff does not explicitly bring

claims under the Voting Rights Act” in her Complaint and state that “Inasmuch as the subject

complaint has brought claims for depravation of the Plaintiff’s claimed voter and voter

registration rights” they infer that it was brought under the Section 2 of the VRA Id p. 2 ¶ ¶ 3-4.

This inference that Defendants rely upon as a basis for carrying their burden of establishing

federal jurisdiction is not only is violation of the case law to be applied in determining whether

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   The VRA was editorially reclassified as 52 U.S.C §10301 but Plaintiff will continue to refer to the prior citation in
this memorandum.

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removal is proper (any doubts regarding Jurisdiction are resolved in favor of remand. Doe supra)

but also contradicted by the plain language of Plaintiff’s Complaint as well as by the

requirements for establishing a claim for violation of Section 2 of the VRA.

       That Defendants claim is without any support on the face of Plaintiff’s Complaint is

readily apparent. Plaintiff framed her Complaint as interference with her political rights in

violation of 50 ILCS 135/10(b) and negligence per se. The interference was Bannister’s

prohibiting her from attending a political event because she was a guest, which resulted in her

not being able to register to vote. There are no allegations in Plaintiff’s Complaint that the action

taken by Bannister was a “standard, practice, or procedure”. In fact any suggested that the

actions taken were a “standard, practice, or procedure” is contracted by Plaintiff’s allegation in

her Complaint “that 25-35% of the attendees were guests”. There also are no allegations that

Banister even knew Plaintiff was there to try to register to vote and that Bannister’s aim was to

keep Plaintiff from registering to vote. In fact Plaintiff plainly stated in the Complaint that

Bannister’s motive was to punish Plaintiff for having filed an earlier Complaint against her.

       But even if Plaintiff had alleged in her Complaint that the motive of Bannister was to

keep her from registering to vote, it still would not raise a claim under Section 2 of the VRA.

As noted above the plain language of Section 2 of the VRA as well as the Senate Report

accompanying the 1982 amendments to Section 2 of the VRA lays out the requirements for

establishing a claim for violation of Section 2. They both require that the state action be aimed

at a class of people and not just a single individual. But more importantly Section 2 is triggered

only when the action results in the denial or abridgement of the rights of citizens to vote based

upon their race or color. Thus it is clear that based upon the plain language of the VRA, to state


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of cause of action under Section 2 of the VRA the pleading must indicate that the challenged

practice adversely effects the ability members of the electorate as a class to participate in the

political process and elect members of their choice based upon their race or color. As noted

above the plain language of the Plaintiff’s Complaint directly denies that Bannister’s motive was

based upon race or color and that the challenged practice adversely effected the ability members

of the electorate as a class to participate in the political process. Therefore it is clear that

Plaintiff’s Complaint cannot be read as supporting Defendants claim that it was brought under

the Voting Rights Act.



                  Plaintiff is Entitled to Costs and Attorney’s Fees on Remand

        Determining whether or not to grant award of costs and attorney’s fees under 28 U.S.C.S.

§1447(c) should be based upon propriety of defendant’s removal. The Seventh Circuit has held

that §1447(c) creates a rebuttable presumption that a plaintiff is entitled to them if removal is

found to be improper Hart v. Wal-Mart Stores, Inc., 360 F.3d 674, 678 (7th Cir. 2004). In

determining the propriety of removal, the court should consider the merits of defendant’s case

for removal at time of removal, and that requires review of removing party’s actions based on

objective view of legal and factual elements in the particular case Hines v. Plane Paint, Inc., 430

F. Supp. 2d 598 (S.D. Miss. 2005).

        Defendants removal of Plaintiff’s Complaint from State court based upon their claim that

Plaintiff brought her Compliant under a federal statue was clearly improper. As noted above at

the time of removal the Defendants admitted that “Plaintiff does not explicitly bring claims under

the Voting Rights Act” in her Complaint. They inferred a Section 2 VRA claim when the


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allegations in the Complaint refuted any plausible notion that it was “”brought under the Voting

Rights Act” as the Defendants claimed in their NOTICE OF REMOVAL.              Additional, they

made this claim with full knowledge that the Complaint does not meet the legal requirements for

stating a claim under Section 2 of the Voting Rights Act. That this is true is perhaps best proven

by the timing and the content of their Motion to Dismiss filed in this case. Around thirty days

after Plaintiff was served with the NOTICE OF REMOVAL the Defendants filed a Motion to

Dismiss (suggesting that they were prepared to do this at the time of filing). But most revealing

is the basis for the Motion and the langue that they use in it. The Motion was based upon the

Plaintiff’s failure to state a claim upon which relief could be granted and the Defendants stated in

both their Motion and the Memorandum filed in support of their Motion that “Plaintiff does not

even begin to plead facts that would establish Defendants violated her Voting Rights” compare

DEFENDANT’S 12(b)(6) MOTION TO DISMISS PLAINTIFF’S COMPLAINT p. 2 ¶ 3 with

DEFENDANT’S MEMORANDUM IN SUPPORT OF THEIR 12(b)(6) MOTION TO

DISMISS PLAINTIFF’S COMPLAINT p.4




                                        IV. CONCLUSION

For all the foregoing reasons, Plaintiff respectfully requests that this Court enter an order

remanding this case to the Circuit Court of Cook County Illinois for lack of federal question

jurisdiction and enter a finding that removal was improper. Plaintiff also requests that the Court



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grant an award of costs and attorney’s fees to Plaintiff as well as any other relief the Court deems

appropriate.

                                              Respectfully submitted,

                                              By_/s/ Stephen Stern
                                              Plaintiff’s Attorney


Stephen Stern Attorney No. 50749
Law Office of Stephen Stern
36 S. Randolph Street, Suite 505
Chicago, Illinois 60601
(312) 263-1887
ssternlawoff@sbcglobal.net




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